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                              Case No.: 23-35174


                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


                         ELIZABETH HUNTER, et al,
                             Plaintiff-Appellants,

                                        v.

          UNITED STATES DEPARTMENT OF EDUCATION, et al,
                       Defendants-Appellees,

                                       and

      COUNCIL FOR CHRISTIAN COLLEGES & UNIVERSITIES, et al,
                   Defendant-Intervenors-Appellees,

         APPEAL FROM THE UNITED STATES DISTRICT COURT
                  DISTRICT OF OREGON, EUGENE
                        (6:21-cv-00747-AA)


  BRIEF OF AMICUS CURIAE HIGHER EDUCATION RESEARCHERS
                 IN SUPPORT OF APPELLANT

        FILED WITH CONSENT OF ALL PARTIES PURSUANT TO
           FEDERAL RULE OF APPELLATE PROCEDURE 29(a)


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              IDENTITY AND INTEREST OF AMICUS CURIAE1

      Amici are Professors and PhD students who conduct research in the field of

higher education. Our names and institutional affiliations are listed at Appendix A.

Collectively, we have decades of professional experience working in higher

education across areas including academic advising, academic affairs, federal

TRiO programs, fraternity and sorority life, institutional research and assessment,

leadership development, queer and trans2 (QT) student services, residential life,

student government, and student life. We study a wide range of institutional types,

including community colleges, minority-serving institutions, liberal arts colleges,

religiously-affiliated institutions, and research universities. We have published

more than 200 peer-reviewed journal articles, books, book chapters, and

manuscripts concerning various aspects of higher education institutions, students,

and employees. All amici share a commitment to advancing equity for QT students

in education. Amici submit this brief to inform the Court of recent qualitative and




1
  Amici curiae certify that (1) all parties have consented to the filing of this brief;
(2) this brief was authored entirely by amici and their counsel, and not by counsel
for any legal party to this case, in whole or part; (3) no party or counsel for any
party contributed money to fund preparing or submitting this brief; and (4) apart
from amici curiae and their counsel, no other person contributed money to fund
preparing or submitting this brief.
2
  We define queer and trans as broadly encompassing terms that include various
minoritized sexual and/or gender identities, including but not limited to bisexual,
gay, lesbian, nonbinary, queer, trans, and asexual.
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quantitative research suggesting the damaging effects of religious exemptions to

Title IX on QT students.

                           SUMMARY OF ARGUMENT

      Data from the recent Interfaith Diversity Experiences and Attitudes

Longitudinal Survey (IDEALS), a national study of college students’ experiences

at religious and non-religious educational institutions, shows that QT students at

Non-Affirming Religious Universities (NARUs) experience significantly worse

campus climate and student engagement than their peers (when compared both to

other NARU students, and to students of all sexual and gender identities attending

non-NARU schools). They are subjected to an environment that is unwelcoming

and stigmatizing; they contend with hostility and discrimination in their daily lives;

and they experience restrictions on their speech and expression. These data show

that the schools that invoke Title IX religious exemptions are the very institutions

that most desperately need Title IX enforcement, as gender-based discrimination

against QT students is the most extreme at these schools. Title IX exemptions

allow (and encourage) a discriminatory, hostile environment to flourish, causing

current and ongoing harm.




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                                    ARGUMENT

      Research shows that non-affirming religious campuses enact policies and

engage in practices that are discriminatory towards QT students.3 These schools

routinely bar QT student groups from registering as official organizations; punish

students for “performing homosexual acts”; and prohibit students from presenting

in gender non-confirming ways, to name just a few examples.4 Students are subject

to conversion therapy when seeking help, as administrators and peers believe their

QT identities are sinful.5 Whereas at non-sectarian schools, issues of discrimination

would be addressed and the harmed party would be supported, religious

exemptions create an environment where harmful behaviors are coded as prayer,

support, helping, and protecting.6 Against this backdrop, data from the IDEALS

study, understood within the context of published empirical research, show how

QT students at these institutions are impacted on a daily basis by the toxic culture

fostered by religious exemptions.

3
  Jonathan S. Coley, Have Christian Colleges and universities become more
      inclusive of LGBTQ students since Obergefell v. Hodges?, 11 RELIGIONS 1–13
      (2020).
4
  Shelley L. Craig et al., Fighting for survival: The experiences of lesbian, gay,
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      249–269 (2016); Shelley L. Craig et al., supra n.4, at 2.
6
  Id.
                                          3
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    I. The IDEALS Study.

      This brief is based on new data from the Interfaith Diversity Experiences

and Attitudes Longitudinal Survey (IDEALS).7 Thousands of students attending

122 colleges and universities (religiously-affiliated, private non-religious, and

public) participated in three surveys across four years: at the beginning of their first

year on campus (Time 1, Fall 2015), at the end of their first year (Time 2,

Spring/Fall 2016), and at the end of their fourth year (Time 3, Spring 2019).

      Among the 122 educational institutions included in the IDEALS study, 12

were Non-Affirming Religious Universities (NARUs), defined as campuses that:

(1) Requested and received a religious exemption to Title IX related to gender

identity and/or sexuality from the U.S. Department of Education; (2) Were among

the institutions attended by plaintiffs in Hunter v. U.S. Department of Education;

and/or (3) Are members of the Council for Christian Colleges and Universities, a

non-affirming organization that states, “human beings, male and female, are

created in the image of God to flourish in community, and, as to intimate sexual

relations, they are intended for persons in a marriage between one man and one

woman.” A total of 883 Time 1 IDEALS respondents, 40 of whom identified as



7
  The Interfaith Diversity Experiences and Attitudes Longitudinal Survey
(IDEALS) explores how educational experiences shape college students’ capacity
to engage empathically across religious, secular, and spiritual differences. See
https://www.interfaithamerica.org/research/ideals/ for more information.
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queer and/or trans (QT) in their first or fourth years of college, attended the 12

NARU institutions.8 Amici were therefore able to use IDEALS data to examine the

experiences of QT students at NARUs, both in relation to their non-QT classmates,

and in relation to students of all gender identities and sexualities at other schools.


    II. Queer and Trans Students Attend Non-Affirming Religious Universities
        Despite the Adversity they Face There.

      As a preliminary matter, data from IDEALS show that QT students attend

Non-Affirming Religious Universities. Most of these students, however, did not

disclose being QT when they began their freshman year. When the IDEALS cohort

was first surveyed in Fall 2015, only 0.2% of students attending NARUs said they

had a gender identity other than female or male,9 and fewer than 4% of NARU

students reported having a queer identity. A substantial portion of the students

surveyed — 16.1% — did not respond to the sexual orientation question at all10


8
  Due to attrition across survey administration waves that is characteristic of
longitudinal studies such as this one, samples were smaller at Time 2 and Time 3.
9
  In the first administration of IDEALS, the gender identity question erroneously
included biological sex response options: male, female, and another gender identity
(with a text box). This was corrected in the third administration of IDEALS when
students were asked to select one of the following gender identities: woman, man,
nonbinary/genderqueer, a gender not specified (with a text box), or “prefer not to
respond.” A follow-up question asked whether they were transgender.
10
   One NARU campus that constituted 11.3% of potential respondents refused to
include the sexual orientation question on their survey, resulting in their students
having no opportunity to describe their sexuality at all. We surmise that the
remaining 4.8% of potential respondents skipped the question for a variety of
reasons, ranging from concerns about the personal nature of the question to fear of
                                           5
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and, among those who did, 96.5% identified as heterosexual. This contrasted

sharply with all other IDEALS campuses (public, private non-religious, and

religiously-affiliated institutions that are not NARUs), where trans and queer

students made up about 1.0% and 11.5% of the first-year student population,

respectively.

      By the fourth year of college (Spring 2019), a higher proportion of IDEALS

participants attending NARUs reported QT identities. For instance, 1.5% described

themselves as nonbinary, genderqueer, or trans men (1.0% preferred not to share

their gender identity). On the question of sexuality, close to 10% said they were

queer, while 88.3% reported being heterosexual. At all other IDEALS campuses

(public, private non-religious, and religiously-affiliated institutions that are not

NARUs), the corresponding percentages of queer and trans students were

substantially higher, at 20.2% and 2.3%, respectively, in the fourth year of college.

      These data illustrate that NARU students’ gender identities and sexualities

are not constant across time: Students are more likely to report a queer or trans

identity by their fourth year (9.7% and 1.5%) than in their first year of college

(3.4% and 0.2%). Among students who reported a queer or trans identity in their


reprisal for outing themselves in a non-affirming environment to the insufficiency
of response options. In addition, students at conservative religious colleges who are
not resolutely heterosexual may choose other identifiers to describe themselves
(e.g., “same-sex attracted”)—and these were not included on the IDEALS
instrument.
                                           6
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fourth year, all had described themselves as cisgender when they began college,

and 76.9% had reported being heterosexual. This suggests that a subset of QT

students who attend NARUs—many of whom may have grown up in non-

affirming religious homes and communities—may choose or agree to attend those

schools while concealing or without fully understanding their sexual/gender

identities, only to face personal, social, academic, and financial risks in the NARU

environment as their self-understanding grows.11

        QT students who attend NARUs may also be motivated to enroll because of

the religious and spiritual emphases of these campuses. When they entered college

in 2015, 77.2% of QT students at NARUs expressed a Christian identity (including

42.9% who were evangelical Christians). Fifty percent reported that religious

beliefs/faith had the “most influence” on their worldview when asked to select

their top three influences from a list of eleven options. Also indicative of the

importance of religion in their lives, the majority of QT students at NARUs

described themselves as religious at the start of college. Despite the potential

dissonance between faith and sexuality they may have encountered in these

environments, religion, faith, and spirituality were decidedly important to QT

students and likely shaped their choice of college.


11
     Jason C. Garvey & C. V. Dolan, Queer and Trans College Student Success,
        HIGHER EDUCATION: HANDBOOK OF THEORY AND RESEARCH 161–215 (2021).

                                           7
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  III. Queer and Trans Students at Non-Affirming Religious Universities
       Experience a Hostile Campus Climate.

      “Campus climate” is defined as the “current attitudes, behaviors, and

standards held by faculty, staff, and students concerning the access for, inclusion

of, and level of respect for individual and group needs, abilities, and potential.”12 It

is a concept that researchers use to study the student experience and, specifically,

the degree to which students with particular identities are stigmatized and

ostracized, versus included and accepted.

      Campus climate plays a significant role in student success. Positive campus

climates—that is, climates in which students feel included and accepted—have

been associated with retention, degree completion, and psychological well-being.13

More accepting campus climates result in less distress, higher self-acceptance14

and greater academic and intellectual development15 among QT students. Healthy


12
   Susan Rankin & Robert Reason, Transformational tapestry model: A
      comprehensive approach to transforming campus climate., 1 JOURNAL OF
      DIVERSITY IN HIGHER EDUCATION 262–274 (2008).
13
   Sylvia Hurtado et al., A model for diverse learning environments, HIGHER
      EDUCATION: HANDBOOK OF THEORY AND RESEARCH 41–122 (2012); Katie K.
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   Michael R. Woodford et al., LGBTQ policies and resources on campus and the
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   Jason C. Garvey et al., The impact of campus climate on queer-spectrum student
      academic success, 15 JOURNAL OF LGBT YOUTH 89–105 (2018).
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and affirming climates have been shown to positively relate to QT student success

in particular.16 Conversely, negative campus climates—that is, climates in which

students feel stigmatized and ostracized—are associated with poor outcomes. Per

Garvey et al.’s (2018) findings,17 QT students who experience marginalization or a

negative campus climate report lower academic performance and lower levels of

engagement in extracurricular activities.

       Data from the IDEALS study indicate that QT students who attend Non-

Affirming Religious Universities experience a hostile campus climate compared to

their peers who attend universities that are accepting (whether religious or non-

religious). This was demonstrated by data across four domains: (1) the degree to

which students perceived the campus to be a welcoming place for QT people; (2)

attitudes toward QT people within the student body; (3) direct experiences with

discrimination and hostility; and (4) freedom of expression experienced among QT

students relative to peers.

     A. QT Students at NARUs experienced a less welcoming environment.
       IDEALS asked students about the degree of welcome they perceived for QT

people on campus. In NARU environments, most students did not agree their



16
   Jason C. Garvey, Jason L. Taylor & Susan Rankin, An examination of campus
      climate for LGBTQ Community College students, 39 COMMUNITY COLLEGE
      JOURNAL OF RESEARCH AND PRACTICE 527–541 (2014).
17
   Jason C. Garvey et al., supra n.17, at 7.
                                            9
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campus was a welcoming place for lesbian, gay, bisexual, or transgender people.

Moreover, when asked at the end of their first and fourth years, QT students at

NARU campuses perceived far lower levels of welcome for lesbian, gay, and

bisexual people (23.6% in 2016; 5.6% in 2019) and trans people (11.8% in 2016;

5.6% in 2019) than their heterosexual and cisgender counterparts (40.4% and

49.6% of whom perceived welcome for lesbian, gay, and bisexual people in 2016

and 2019, respectively, and 35.6% and 35.4% of whom perceived welcome for

trans people in 2016 and 2019, respectively). In contrast, perceptions of QT

welcome were demonstrably higher (though varied to some degree) in public and

non-religious private university settings, with anywhere from 61% to 89% of

students in agreement that the environment was welcoming for QT people.

   B. QT students at NARUs experienced more negative attitudes within the
      student body.
      IDEALS posed a series of questions to gauge student attitudes with respect

to QT people. The questions were as follows (students were asked to express their

level of agreement on a five-point scale, from agree strongly to disagree strongly):

   ● In general, lesbian, gay, and bisexual people make positive contributions to

      society.

   ● In general, transgender people make positive contributions to society.

   ● In general, lesbian, gay, and bisexual people are ethical people.

   ● In general, transgender people are ethical people.
                                         10
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     ● I have things in common with lesbian, gay, and bisexual people.

     ● I have things in common with transgender people.

     ● In general, I have a positive attitude toward lesbian, gay, and bisexual

         people.

     ● In general, I have a positive attitude toward transgender people.

         The data received in response to these questions reveal that the majority of

cisgender and heterosexual students at NARUs come to their campuses with

negative attitudes towards QT people: At the beginning of the first year of college,

rates of cisgender and heterosexual student agreement with these statements ranged

from 27.6% (“I have things in common with transgender people”) to 48.3% (“In

general, I have a positive attitude toward lesbian, gay, and bisexual people”) at

NARUs. These numbers stand in sharp contrast to the responses of cisgender and

heterosexual students at other institutions (i.e., schools that are not NARUs), both

religious and non-religious. The IDEALS data are consistent with data obtained

through the study of undergraduate students at three Council for Christian Colleges

& Universities (CCCU) institutions: Yarhouse et al. (2009)18 found that 96% and

84% of students considered their campus’ view of “homosexual behavior” and

“same-sex attraction” to be negative, respectively. Fellow students were the



18
     Mark A. Yarhouse et al., Listening to sexual minorities on Christian College
       Campuses, 37 JOURNAL OF PSYCHOLOGY AND THEOLOGY 96–113 (2009).
                                           11
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primary contributor of hostile campus climates for QT students, with 73% of QT

students reporting disparaging, anti-QT comments made by peers on four or more

occasions.

      The negative first-year attitudes described above bolster the sense of

unwelcome that QT students are already experiencing at these schools, and lead to

direct experiences with discrimination and hostility (as described below). IDEALS

data further suggest that, to the extent that student attitudes towards QT people

improve over time, that improvement is linked to cisgender and heterosexual

students having at least one friend of a different sexual orientation. Policies at

NARUs that make it dangerous or impossible for QT students to come out of the

closet necessarily inhibit or prevent these kinds of friendships.

   C. QT students at NARUs had more direct experiences with discrimination
      and hostility.
      QT students at Non-Affirming Religious Universities experienced

significantly more overt hostility and discrimination than their peers at other

institutions. By the end of their first year, 11.8% of QT students at NARUs felt

others “frequently” or “all the time” used their religious worldview to justify

treating them in a discriminatory manner on the basis of their gender identity or

sexual orientation. These experiences were amplified by year four, when more than

one-third of QT students at NARUs said they experienced discrimination

“frequently” or “all the time” on the basis of gender identity (33.4%) and/or
                                          12
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sexuality (38.9%). For the sake of comparison, consider that much smaller

proportions of QT students at other types of institutions experienced the same in

year four: 1.2%-9.4%.

      QT students attending NARUs also had a higher propensity than all other

groups to “frequently” or “all the time” feel pressured by others on campus to

change their worldview (23.6% in 2016; 33.3% in 2019), to feel pressured to listen

to others’ perspectives when they didn’t want to hear about them (29.4% in 2016;

61.1% in 2019), to feel silenced from sharing their experiences with prejudice and

discrimination (17.7% in 2016; 22.2% in 2019), and to have tense, somewhat

hostile interactions (11.8% in 2016; 22.2% in 2019). By 2019, several additional

“frequent” or “all the time” experiences were the most prevalent among QT

students attending NARUs relative to all other student groups: Having guarded,

cautious interactions (50.0%), having hurtful, unresolved interactions (22.2%), and

staying quiet rather than voicing their honest perspective to avoid conflict during

challenging conversations (38.9%). In sum, the negative features of campus

climate at NARUs (reflected by the lack of welcome and negative attitudes in the

incoming student body) were coupled with direct experiences of hostility.

   D. QT students at NARUs experienced restriction on their freedom of
      speech and expression.
      Freedom of religious expression is a prized value among religious

conservatives and in NARU environments. But QT students who attend those
                                         13
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institutions are not free to express their ideas like everyone else. In fact, relative to

students on their own campuses and those attending non-religious private and

public institutions, QT students at NARUs experience the least freedom to express

themselves. At the end of their first year in college, just 52.9% agreed that their

campus and their classes are safe places to express their worldview. For context,

86.1% of heterosexual and cisgender students at NARUs agreed their campus is a

safe place to express their worldview and 82.7% said the same about their classes.

When asked at the end of the first year whether there is a place on campus where

they can go to express their worldview, 70.6% of QT students at NARUs agreed,

alongside 83.9% of their heterosexual and cisgender peers.

      At the end of the fourth year, QT students’ sense of free expression at

NARUs diminished further: 50.0% agreed their campus was a safe place to express

their worldview (compared to 74.5% of heterosexual and cisgender students),

44.4% agreed there was a place on campus where they could express their

worldview (compared to 80.8% of heterosexual and cisgender students), and

38.9% agreed their classes were safe places to express their worldview (compared

to 76.0% of heterosexual and cisgender students). Rates of agreement with the free

expression statements were generally high at other types of institutions regardless

of gender or sexuality, ranging from 73.3% to 88.3% in 2016 and 67.9% to 86.1%

in 2019.


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        At the non-religious private and public campuses there were not consistent

patterns of inequity, as there were at the NARUs: sometimes QT students fared

better than heterosexual and cisgender students on these measures of free

expression and sometimes the reverse was true. On the whole, these data illuminate

stark differences in safety and freedom of expression at NARUs, with QT students

lacking the same opportunities to share their perspectives openly in and beyond the

classroom that their heterosexual and cisgender peers enjoy.


     IV. QT Students at Non-Affirming Religious Universities have Diminished
         Student Involvement.

        Student involvement—i.e., the degree to which students are involved in

student organizations, campus resource centers, peer relationships, and other sites

of connecting and belonging—is positively correlated with retention, achievement,

and students’ development of a sense of self in college19. As with the general

student population, QT students with higher engagement tend to have higher

academic performance as reflected by grade point average.20 But student



19
   Ernest T. Pascarella & Patrick T. Terenzini, HOW COLLEGE AFFECTS STUDENTS:
     A THIRD DECADE OF RESEARCH (2005).
20
   John P. Dugan, Michelle L. Kusel & Dawn M. Simounet, Transgender College
     Students: An exploratory study of perceptions, engagement, and educational
     outcomes, 53 JOURNAL OF COLLEGE STUDENT DEVELOPMENT 719–736 (2012);
     Kristie L. Seelman et al., Student School engagement among sexual minority
     students: Understanding the contributors to predicting academic outcomes,
     38 JOURNAL OF SOCIAL SERVICE RESEARCH 3–17 (2012).
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involvement also carries particular importance for QT students, who are at higher

risk for being socially isolated and marginalized. When QT students can maintain

quality interactions and personal relationships with colleagues and friends, they are

more likely to persist and attain degrees.21 Student involvement is essential for

these students’ sense of belonging and the cultivation of meaningful and lasting

relationships with peers and faculty.22 For this reason, many institutions of higher

education fund resource centers for QT students, which offer community

education, referrals, and advocacy.23 QT students cultivate a sense of belonging in

these identity-based student organizations, which has a positive effect on QT

student retention and success.24

      Peer relationships are also crucial for fostering space for QT students to

support each other socially and academically.25 Often referred to as kinship


21
   Matthew J. Mayhew et al., HOW COLLEGE AFFECTS STUDENTS: 21ST CENTURY
      EVIDENCE THAT HIGHER EDUCATION WORKS (2016).
22
   Jason C. Garvey & C. V. Dolan, supra n.12, at 5; Erich N. Pitcher & S. L.
Simmons, Connectivity, community, and kinship as strategies to foster queer and
trans college student retention, 21 JOURNAL OF COLLEGE STUDENT RETENTION:
RESEARCH, THEORY & PRACTICE 476–496 (2020).
23
   Erich N. Pitcher et al., Affirming policies, programs, and supportive services:
      Using an organizational perspective to understand LGBTQ+ college student
      success., 11 JOURNAL OF DIVERSITY IN HIGHER EDUCATION 117–132 (2018).
24
   Jason C. Garvey, Critical imperatives for studying queer and trans
      undergraduate student retention, 21 JOURNAL OF COLLEGE STUDENT
      RETENTION: RESEARCH, THEORY & PRACTICE 431–454 (2020).
25
   Jason C. Garvey et al., Queer and trans* students of color: Navigating identity
      disclosure and college contexts, 90 THE JOURNAL OF HIGHER EDUCATION
      150–178 (2018).
                                         16
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networks, these relationships can transcend the traditional bounds of college

friendships and become a kind of chosen family, particularly for students who may

be estranged from their own families of origin. Kinship plays a crucial role in

retention,26 and when QT students lack kinship relationships, they are less likely to

graduate.27

         Although IDEALS data do not provide insight on students’ involvement

with QT resource centers (which do not exist at NARUs), the study does explore

other forms of involvement, including service participation, leadership, and

engagement with faculty and spiritual mentors. At the end of their first year, QT

students attending NARUs were less inclined than their heterosexual and cisgender

peers to participate in required (58.8% versus 64.9%) or voluntary community

service (47.1% versus 60.4%), campus leadership roles (17.6% versus 22.0%), and

multicultural campus activities (23.5% versus 41.8%).

         By the end of the fourth year of college, some of these patterns continued or

were strengthened. For example, QT students remained less inclined than their

peers to engage in voluntary service work (although the gap between the two



26
     Erich N. Pitcher & S. L. Simmons, supra n.26, at 13.
27
     Kristopher M. Goodrich, Lived experiences of college-age transsexual
        individuals, 15 JOURNAL OF COLLEGE COUNSELING 215–232 (2012);
        Anneliese A. Singh, Sarah Meng & Anthony Hansen, “it’s already hard
        enough being a student”: Developing affirming college environments for
        Trans youth, 10 JOURNAL OF LGBT YOUTH 208–223 (2013).
                                           17
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groups diminished by the fourth year). While all students assumed more campus

leadership roles by the fourth year of college, the gap in participation widened over

time, with heterosexual and cisgender students engaging the most (62.0% versus

44.4%). Strikingly, pronounced disparities did not exist in private non-religious

and public institutions, and in fact QT students at those schools had a slight edge in

campus leadership involvement in the fourth year (57.5% versus 54.4% in private

non-religious institutions; 36.7% versus 34.7% in public institutions). Heterosexual

and cisgender students also continued to engage to a greater degree than their QT

peers in multicultural campus activities at NARUs (60.9% versus 50.0%).

      Another troubling pattern concerns the rates of engaging spiritual mentors

and faculty and expressing one’s worldview. QT students—who reported higher

rates than heterosexual and cisgender students of engaging chaplains, advisors, and

faculty and expressing their worldview in class in their first year at NARUs—

exhibited much lower rates of such engagement and expression than their peers by

year four (chaplains/advisors: 38.9% versus 47.3%; faculty: 72.2% versus 86.7%;

class expression: 66.7% versus 81.2%). The opposite pattern was true of faculty

engagement and classroom expression on non-NARUS campuses. That is, at

private non-religious and public institutions, QT students in their fourth year were

more inclined than their peers to discuss religious or spiritual topics with faculty

(44.5% versus 38.4% in private non-religious institutions; 28.2% versus 24.5% in


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public institutions) and express their personal worldview in class (71.9% versus

60.4% in private non-religious institutions; 57.6% versus 49.8% in public

institutions). QT students on NARU campuses were also much less likely than

other students to participate in intercollegiate athletics (11.1% versus 26.6%).

      Taken together, these findings suggest that QT students at NARUs have a

diminished level of student involvement compared to their peers. Our findings

point to inequities in leadership, self-expression, and engagement with spiritual

mentors and faculty that do not exist to the same degree at other types of

institutions and that may result from QT students feeling a need to conceal their

identities or, upon coming out, being cast by others as unfit to lead and engage.

                                  CONCLUSION

      The data from the IDEALS survey, understood within the context of

published empirical research that we have cited here, show that QT students who

attend Non-Affirming Religious Universities experience hostile and unequal

treatment, and are less able to engage in campus life, than their peers. Religious

exemptions support this discriminatory climate by conveying the message that

negative, differential treatment is justified, and by preventing students who are

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targeted from seeking redress. For the foregoing reasons, Amici Curiae respectfully

submit that the decision below should be reversed.



DATED: August 25, 2023.           Respectfully Submitted,

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                                   APPENDIX

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